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                   EXHIBIT B
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                                     SCHEDULE A

                               SECURITIES TRANSACTIONS

                Acquisitions

                   Date                 Type/Amount of
                 Acquired              Securities Acquired   Price

                12/20/2017                   1,400           $35.00
                12/22/2017                    900            $23.00
                01/02/2018                   1,000           $27.70
                01/02/2018                   1,000           $28.00
                02/07/2018                   3,000           $15.50
